                        Case: 24-2299, 03/26/2025, DktEntry: 78.1, Page 1 of 2
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                                                              March 26, 2025

    Catherine O’Hagan Wolfe
    Clerk of Court
    United States Court of Appeals for the Second Circuit
    40 Foley Square
    New York, N.Y. 10007

               Re: People of the State of New York v. Trump, No. 24-2299

    Dear Ms. O’Hagan Wolfe,

           I represent appellee the People of the State of New York in this appeal. I write
    in response to the United States’ motion for leave to file an amicus brief out of time
    (Dkt. No. 74.1). The People take no position on the motion. We note, however, that
    the United States had many prior opportunities to file a statement of interest or amicus
    brief on the availability of federal-officer removal in this proceeding—defendant filed
    his second notice of removal in the district court in August 2024 and perfected his
    appeal to this Court months ago in October 2024. Although the United States attributes
    the timing of its motion to a “change in administration” (Dkt. No. 74.1 ¶ 3), it identifies
    no meaningful change in the federal government’s “institutional interests” (id.) aside
    from the fact that defendant is now the head of the Executive Branch that is seeking
    to support his position in this private criminal matter.

           If this Court grants the motion, the People respectfully request leave to file a
    supplemental brief on April 28, 2025. Had this amicus brief been timely filed, the
    People would have had several months to prepare a response in their appellee brief.
    Thirty days is a reasonable amount of time to respond to the United States’ arguments
    and will not prevent this Court from scheduling oral argument before the summer.

                                                              Sincerely,

                                                              /s/ Steven C. Wu

                                                              Steven C. Wu
                                                              Chief, Appeals Division
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Via ACMS
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